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10                            UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. CR 23-00047-JLS-1

13             Plaintiff,                    GOVERNMENT’S SENTENCING POSITION;
                                             DECLARATION OF SCOTT PAETTY;
14                   v.                      EXHIBITS

15   THOMAS VINCENT GIRARDI,                 Hearing Date: December 20, 2024
                                             Hearing Time: 1:30 p.m.
16             Defendant.                    Location:     Courtroom of the
                                                           Hon. Josephine L.
17                                                         Staton

18
19        Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorney Scott Paetty, hereby
22   files its sentencing position in the above referenced case.
23        This position is based upon the attached memorandum of points
24   and authorities, the testimony and exhibits introduced during the
25   competency proceedings and the 13-day trial, the declaration of
26   //
27

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1    Scott Paetty and accompanying exhibits, the files and records in this

2    case, and such further evidence and argument as the Court may permit.

3    Dated: December 6, 2024              Respectfully submitted,

4                                         E. MARTIN ESTRADA
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8                                               /s/
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1                       MEMORANDUM OF POINTS AND AUTHORITIES

2    I.   INTRODUCTION

3         Former attorney Thomas Vincent Girardi (“defendant”) devised and

4    perpetrated a cunning fraud scheme against the injured clients he had

5    a sworn duty to protect.      His years-long theft of client funds from

6    his law firm’s trust accounts and the myriad lies he told to cover up

7    his theft represent a calculated and devasting betrayal of the very

8    people that turned to him for help in their darkest hour.           As proved

9    at trial, defendant stole millions of dollars in client settlement

10   funds and failed to pay his clients the money that was due them.              In

11   carrying out this scheme, defendant provided a litany of false

12   excuses for failing to pay clients and, with the assistance of co-

13   defendant Christopher Kamon (“Kamon”), used his law firm’s accounts

14   like a personal piggy bank.      Defendant also operated the law firm he

15   founded, Girardi Keese, like a Ponzi scheme by using new victim

16   client settlement money to pay previously defrauded clients, while he

17   and Kamon also used the embezzled client funds to pay law firm

18   expenses and to enrich themselves.

19        Although complaints of misappropriated client funds had swirled

20   around defendant for decades, his massive fraud was finally brought

21   to light at the end of 2020 when Girardi Keese descended into

22   bankruptcy and closed and defendant was referred to the Department of

23   Justice for criminal prosecution.       Defendant has now been convicted

24   by a jury of felonies related to the theft of client funds in the

25   four cases the government presented at trial.          Defendant also faces

26   criminal charges in Chicago for similar conduct in that jurisdiction.

27   Although defendant is in his mid-80s and has some cognitive

28   impairment, the gravity of defendant’s wrongdoing and the serious
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1    and, in many cases, irreparable damage he has done to his clients and

2    the legal profession in general warrant a significant custodial

3    sentence.

4          Therefore, for his role in devising, carrying out, and

5    concealing his fraud scheme, and for the following reasons, the

6    government submits that a sentence that includes 168 months

7    imprisonment, a restitution order in the amount of $3,786,985.34,

8    three years of supervised release, and a special assessment of $400

9    is justified and appropriate.

10   II.   DEFENDANT’S OFFENSE CONDUCT AND CRIMINAL CONVICTIONS

11         The following summary of defendant’s offense conduct is based on

12   facts stated in the PSR ¶¶ 8-121. 1

13         A.    Defendant’s Fraud Scheme at Girardi Keese

14         As the Court is well aware from the extensive pre-trial

15   litigation and the 13-day trial in this matter, defendant

16   orchestrated and carried out his fraud scheme from his position as

17   the sole owner and managing partner of Girardi Keese, the plaintiff’s

18   law firm he founded decades ago in Los Angeles.          Defendant exerted
19   control over the Girardi Keese client trust accounts and determined

20   which clients would be paid, how much they would be paid, when they

21   would be paid, and signed outgoing checks to clients.           These client

22   trust accounts were strictly regulated and intended to function as a

23   short-term place to deposit client funds, such as the settlement

24   funds at issue here, which funds would then be promptly sent to the

25   client once attorney fees and costs of the litigation were deducted.

26

27

28         1Facts taken from sources other than the PSR are noted in
     separate parenthetical citations.
                                        2
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1         Defendant’s fraud scheme, in essence, was not complicated but it

2    was no less devasting because of its simplicity.          Defendant and other

3    Girardi Keese attorneys who worked for defendant would negotiate a

4    settlement on behalf of a client that would require payment of money

5    to the client.    Girardi would then misappropriate those settlement

6    funds in a variety of ways.      Defendant would cause the settlement

7    funds to be deposited into Girardi Keese client trust accounts while

8    making various misrepresentations and/or material omissions to the

9    clients, such as misrepresenting and omitting the true value of the

10   settlement, lying about reasons for delaying payment, and then using

11   the money for other purposes.       For example, as part of the scheme and

12   to conceal the embezzlements and misappropriations defendant sent

13   lulling communications to the clients falsely asserting, among other

14   things, that the settlement proceeds had not been paid or that he

15   could not pay the settlement funds to clients until certain

16   fabricated events took place, such as clearing non-existent tax

17   obligations, “settling” already-settled bankruptcy claims, or

18   obtaining authorizations for payment from judges or other court

19   officials, when no such further authorization was needed.           Another

20   part of the scheme involved sending partial, lulling payments to

21   clients, labelling them “advances” on purportedly yet-to-be-received

22   settlement funds (which had already been deposited into the trust

23   accounts and misappropriated) or fabricated “interest” payments on

24   funds that were held in a non-existent separate high-yield interest

25   bearing account.

26        To pull off such a scheme, defendant could not do it alone.              He

27   enlisted the assistance of his long time head of accounting, co-

28

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1    defendant Kamon. 2   Kamon had access to the Girardi Keese bank account

2    balances, including the trust accounts, and, at defendant’s request,

3    would regularly give defendant the account balances and then, at

4    defendant’s direction, would transfer money from the trust accounts

5    to the firm’s operating accounts where defendant and Kamon would

6    thereafter misappropriate and embezzle settlement proceeds for

7    improper purposes.       These improper purposes included, among other

8    things, paying: (1) other Girardi Keese clients whose own settlement

9    funds had previously been misappropriated, (2) law firm expenses

10   (like payroll), (3) American Express card bills encompassing charges

11   for defendant’s (and Kamon’s) personal expenses, (4) for two private

12   jets, and notably (5) $25 million to fund defendant’s former wife’s

13   entertainment career.

14        B.    The Charged Victims

15        At trial, the government presented testimony and evidence

16   related to four victims who suffered severe consequences due to

17   defendant’s fraud scheme.       The jury convicted defendant of four

18   felonies related to these four cases. 3        These victims and their cases
19   are discussed in detail in the PSR.        (See PSR ¶¶ 33-120.)      A summary

20   of certain key facts is below.

21              1.    Victim Client 1 (J.R.)

22        As stated in PSR ¶¶ 32-54, Client 1 sustained life threatening

23   injuries in a gas explosion that caused severe burns all over his

24   body, killed his girlfriend, and destroyed his family’s home.

25   Defendant negotiated a settlement of the family’s claims without

26
          2 Kamon pleaded guilty in this case and in related case number
27   23-24-JLS and is scheduled to be sentenced on January 31, 2025.
28        3 The final count in the indictment (count five) was dismissed
     as to defendant Girardi before trial. (Dkt. 314.)
                                        4
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1    obtaining prior approval from Client 1 or his family members, in

2    violation of the retainer agreement they signed with Girardi Keese.

3    Moreover, defendant lied to them about the true value of their $53

4    million settlement, instead telling them that the case settled for

5    only $7.25 million.      Defendant then told Client 1 and his family a

6    series of lies designed to conceal his misappropriation of their

7    settlement money.

8         For example, defendant lied about tax liability on the

9    settlement, lied about the settlement funds having been placed in a

10   separate 6.5% interest bearing account, lied about the settlement

11   judge’s continuing involvement in the case, withheld the settlement

12   agreement from Client 1 and his family despite repeated requests for

13   additional information about their settlement, sent them incremental

14   and irregular, partial lulling payments, and lied about the safety of

15   their settlement funds despite having immediately misappropriated

16   them.

17              2.    Victim Client 2 (J.S.)

18        As stated in PSR ¶¶ 56-83, Client 2 retained Girardi Keese to
19   represent her in connection with a wrongful death claim based on a

20   boating accident that caused her husband’s death.          Defendant

21   negotiated a $504,400 settlement for Client 2 and then proceeded to

22   misappropriate the funds and give Client 2 numerous false excuses for

23   not paying the money owed her.

24        For example, prior to the settlement money being deposited into

25   the Girardi Keese trust account, while knowing that the funds were

26   sourced from settlement funds belonging to other clients, defendant

27   took out attorney’s fees and costs related to the case in violation

28   of the rules governing trust accounts.        Defendant used a portion of

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1    those funds to pay Girardi Keese payroll and to transfer to his

2    personal bank account to make payments to two exclusive golf country

3    clubs.   In the days following the deposit of Client 2’s settlement

4    funds, defendant also took out more in attorney’s fees (approximately

5    $510,000) from the trust account than the entire amount of the

6    settlement.     (See Trial Exhibit 245.)      Despite the efforts of a

7    junior Girardi Keese attorney to get defendant to pay Client 2 the

8    money he owed her, defendant repeatedly lied to Client 2 and the

9    lawyer she hired to pursue defendant (whom Client 2 called the

10   “attorney for the attorney”) by claiming that he was waiting on a

11   signature from a judge (he was not), that he was providing an

12   “advance” when no advance was necessary because Girardi Keese already

13   had the settlement funds in its trust account, and that the

14   settlement was held up for tax reasons (it was not).

15              3.     Victim Client 3 (J.H.)

16        As stated in PSR ¶¶ 84-98, victim Client 3 retained Girardi

17   Keese to represent her in a product liability case related to a

18   defective medical device.        Defendant misappropriated Client 3’s
19   $128,250 settlement and used the money to pay for, among other

20   things, leases on luxury cars.

21        As another junior Girardi Keese attorney tried to assist Client

22   3 in receiving her settlement funds from defendant, defendant told

23   lie after lie to Client 3 to lull her and conceal his

24   misappropriation.        For example, defendant falsely told Client 3 that

25   he was waiting on an apportionment to the bankruptcy trustee.              That

26   was a lie because, as defendant well knew, the amount due to the

27   trustee had already been determined.         Defendant also falsely stated

28   in voicemail messages to Client 3 that additional court orders were

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1    needed (they were not) and that “we [Girardi Keese]” would “like our

2    money just like you’d like yours”, despite the fact that Girardi

3    Keese had received the full amount of Client 3’s settlement months

4    earlier.   Client 3 never received any of her settlement money from

5    Girardi Keese.

6               4.    Victim Clients 4 and 5 (E.S and A.M.)

7         As stated in PSR ¶¶ 100-120, victim Clients 4 and 5 retained

8    Girardi Keese in connection with a lawsuit related to injuries they

9    and their minor son sustained in a car accident.          The minor son

10   subsequently died from his injuries.        Defendant misappropriated these

11   settlement funds and used them, among other things, to pay money

12   still owed to Client 1 and to pay Girardi Keese operating expenses.

13   Defendant’s lulling lies told to Clients 4 and 5 mirror those told to

14   other victim clients.      Namely, that delays in payments were due to

15   court proceedings related to the minor child (when payments to

16   Clients 4 and 5 were not dependent on any such payment), or removal

17   of purported tax liability (when the settlements were not taxable),

18   or clearing of medical liens (when all medical expenses had been

19   paid).   Client 4 repeatedly sent emails and had follow up telephone

20   conversations with defendant that discussed the severe hardship the

21   delays in payment were causing her family and memorialized the litany

22   of lies that defendant told them regarding payment of their

23   settlement funds.

24   III. RESPONSE TO THE PSR

25        In the PSR, the United States Probation & Pretrial Services

26   Office (“Probation”) calculated defendant’s total offense level at 33

27   based on the following factors:       base offense level of 7 under

28   U.S.S.G. § 2B1.1(a)(1), plus an 20-level increase for a gain of more

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1    than $9,500,000 but less than $25,000,000 pursuant to

2    § 2B1.1(b)(1)(K), a two-level enhancement for substantial financial

3    hardship under § 2B1.1(b)(2)(A), a two-level enhancement for

4    vulnerable victim under § 3A1.1(b)(1), and a two-level enhancement

5    for abuse of a position of trust under § 3B1.3.          Probation determined

6    that defendant should not receive any additional reduction as a

7    “Zero-Point Offender” under § 4C1.1 because defendant caused

8    substantial financial hardship to at least one victim.           (PSR ¶¶ 135-

9    141.)     Probation also determined that restitution in the amount of

10   $2,525,000 is appropriate.       (PSR ¶¶ 122-23, 211, 213.)

11         Based on a total offense level of 33 and a criminal history

12   category of I, Probation calculated defendant’s guidelines range as

13   135 to 168 months.       (PSR ¶ 198.)   In its disclosed recommendation

14   letter, Probation recommended a custodial sentence of 135 months to

15   be followed by three years of supervised release, and a restitution

16   order in the amount of $2,525,000.        (Dkt. 407.)

17         The government concurs with Probation in its Guidelines

18   analysis, however, as discussed below, the government believes that a

19   restitution order of $3,786,985.34 is appropriate and recommends a

20   high-end guidelines sentence of 168 months custody. 4

21   IV.     SECTION 3553(a) FACTORS

22         The Court should impose a sentence sufficient, but not greater

23   than necessary, to reflect the purposes of sentencing identified in

24   18 U.S.C. § 3553(a).       United States v. Carty, 520 F.3d 984, 991 (9th

25

26         4Probation also recommended a $35,000 fine in this case. (See
     Dkt. 407 at 2.) Because the government has no insight into
27   defendant’s current financial circumstances, the government takes no
     position on the applicability of a fine in this case. The government
28   will seek forfeiture, as alleged in the indictment, by separate
     filing.
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1    Cir. 2008).     The advisory Guidelines range provides the “starting

2    point and . . . initial benchmark” for this Court’s consideration of

3    an appropriate sentence.      Molina-Martinez v. United States, 136 S.

4    Ct. 1338, 1345 (2016) (quoting Gall v. United States, 552 U.S. 38, 49

5    (2007).   Although the Guidelines are not binding, they “reflect a

6    rough approximation of sentences that might achieve section 3553(a)’s

7    objectives.”    United States v. Rita, 551 U.S. 338, 350 (2007).

8         Under 18 U.S.C. § 3553(a), in arriving at the appropriate

9    sentence, the Court should consider, among other factors, the nature

10   and circumstances of the offense and the history and characteristics

11   of the defendant, § 3553(a)(1); the need for the sentence imposed to

12   reflect the seriousness of the offense, to promote respect for the

13   law, and to provide just punishment for the offense, § 3553(a)(2)(A);

14   the need for the sentence imposed to afford adequate deterrence to

15   criminal conduct, § 3553(a)(2)(B); the need for the sentence imposed

16   to protect the public from further crimes of the defendant,

17   § 3553(a)(2)(C); the kinds of sentences available, § 3553(a)(3); and

18   the need to avoid unwarranted sentence disparities, § 3553(a)(6).

19        In light of the relevant § 3553(a) factors, a 168-month

20   custodial sentence is sufficient, but not greater than necessary, to

21   achieve the goals of sentencing here.

22              1.     Nature and Circumstances of the Offense (18 U.S.C. §
                       3553(a)(1))
23
          Defendant’s criminal conduct in this matter is egregious.
24
     Defendant stole more than money from his victims.          Already suffering
25
     from life-altering injuries, defendant compounded his victims’ stress
26
     and anxiety by forcing them to focus on attempting to claw their
27
     money from defendant when they should have been focusing on their
28

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1    recovery.   Defendant betrayed the trust of his clients, caused them

2    extreme emotional, physical, and financial distress, and in so doing,

3    undermined the integrity upon which our legal system relies.            His

4    crimes thus eroded his victim’s and the public’s trust in the legal

5    process.

6         Defendant’s theft of client funds was all the more reprehensible

7    in light of the fact that his victim clients had turned to defendant

8    in their darkest hours, expecting to find an advocate and protector;

9    instead, they were at the mercy of a thief who cared only about

10   himself.    While defendant was spending extravagantly from the Girardi

11   Keese accounts on private jets, luxury cars, jewelry and country

12   clubs, his wife’s entertainment career, and direct transfers to

13   himself, he was spinning cold-hearted lies to his vulnerable clients

14   who desperately needed their settlement funds for basic necessities

15   like housing and transportation.

16        In addition to providing trial testimony, the four victims

17   mentioned above also submitted impact statements for the Court’s

18   consideration.    These statements and additional statements from other

19   Girardi Keese clients alleging harms caused by defendant that have

20   been received by the government are attached as Exhibit 1 to the

21   Paetty Declaration. 5     These statements are a stark reminder of the

22   immense pain and suffering these victims incurred as a result of

23   defendant’s fraud.       For example,

24

25        5 All impact statements that the government has received prior
     to sentencing have been included in Exhibit 1. The government has
26   not been able to confirm that all of these individuals are victims.
     (See Ex. 1 at 60-61, bates 786605-06 (Declaration of Nicholas Troszak
27   describing the impracticality of providing a fully complete and
     accurate accounting of all Girardi Keese client matters.) However,
28   these statements provide information that the Court may be inclined
     to consider as part of the 3553(a) analysis.
                                       10
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1            •   Trial witness and victim J.R. recounted that in addition to
2                the physical scars from the traumatic explosion that killed
3                his girlfriend and left him in a coma, “the emotional
4                scars” from defendant’s fraud “run deep”.         (Ex. 1 at 1,
5                bates 786587).    He further stated, “The theft of our
6                settlement has resulted in overwhelming stress, enormous
7                legal costs, and the fear of a never-ending cycle of
8                lawsuits, just to receive what rightfully belonged to us
9                all along.”    (Id.)
10           •   Trial witness and victim J.S. stated that in addition to
11               the financial struggles resulting from defendant’s lies

12               about her settlement, she contracted “a case of the

13               shingles, an irregular heart beat and the need of a medical

14               service dog to assist with the anxiety.”         (Ex. 1 at 6,

15               bates 786572.)

16           •   Trial witness and victim J.H. voiced similar consequences.
17               “Beyond the financial toll, the emotional ramifications

18               have been equally damaging.”      She suffered “anxiety and

19               depression as result of [defendant’s] betrayal” and

20               “find[s] it difficult to trust others in similar

21               positions.”    (Ex. 1 at 70-71, bates 786615-616.)

22           •   Victim V.A. who suffered “horrific” injuries in a head on
23               collision described still being owed over a million dollars

24               by defendant and has “refrained from seeking further

25               medical treatment because . . . [she] ha[s] first-hand

26               knowledge on how quickly medical bills pile up.”          (Ex. 1 at

27               10-14, bates USAO_GK_00786576-00786580.)

28        This is a mere sample of the immense hardship that defendant’s

                                            11
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1    conduct caused his victims.       In sum, the scope and breadth of

2    defendant’s criminal conduct was devastating and had tragic

3    consequences for the victim-clients he betrayed.          The severity and

4    lingering effects of that impact warrant a significant custodial

5    sentence.

6                2.     History and Characteristics of the Defendant (18
                        U.S.C. § 3553(a)(1))
7
          Defendant’s history and characteristics present further
8
     aggravating factors that justify a significant custodial sentence.
9
     Defendant was a revered and legendary member of the plaintiff’s bar.
10
     He was well-educated and possessed credentials that exceeded those of
11
     most lawyers.      He enjoyed the rare air at the top of his profession.
12
     But instead of using his privileged position and significant talent
13
     as a trial attorney to help his clients, he used it to steal from
14
     them.
15
          Defendant’s fraud also sacrificed his own employees’ reputations
16
     and future job prospects.       Indeed, his crimes had severe consequences
17
     for the people who worked for him.          Junior attorneys at his firm,
18
     like trial witness A.G. whose attempts to get defendant to pay Client
19
     2 the money he owed her, were rebuffed by defendant.           A.G. was
20
     ultimately sued by Client 2 and forced to defend herself in civil
21
     actions and State Bar proceedings that caused anxiety, emotional and
22
     financial stress, and put her livelihood in jeopardy.           As the Court
23
     and jury saw, defendant wrote misleading emails to throw clients and
24
     his own staff off the scent that something was wrong, telling
25
     attorneys like A.G. that he would “handle it”, when defendant did no
26
     such thing.      (See Dkt. 365 at 29:10-16.)
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1         Defendant did not meet with Probation prior to the PSR being

2    issued.   However, the Court has the portrait of defendant that was

3    presented during the competency proceedings and at trial.            Both of

4    these proceedings illuminated the vast damage that defendant’s fraud

5    wreaked on his victim clients, and while trial and competency

6    evidence showed defendant’s cognitive decline, it also proved his

7    ability to manipulate his environment to suit his own ends.

8    Defendant showed that he was able to feign and exaggerate symptoms of

9    cognitive impairment when he deemed it beneficial to do so.            Although

10   defendant is in his mid-80s and suffers from cognitive impairment,

11   defendant also showed that he was competent to stand trial in this

12   case and knew what he was doing when he carried out the fraud scheme

13   at Girardi Keese with Christopher Kamon.

14        Moreover, not only did the government prove beyond a reasonable

15   doubt that defendant defrauded his victim clients in the four charged

16   cases here, but the jury (and the Court) heard evidence of

17   defendant’s similar lies and misappropriation of client funds over

18   the years and in the criminal case in the Northern District of

19   Illinois that was premised on defendant’s theft of client funds

20   related to the Lion Air plane crash. 6       Exhibits from the competency

21   proceedings showed that at the same time defendant’s counsel was

22   arguing in mid-December 2020 that defendant did not understand the

23   potential criminal and civil exposure he faced in Chicago, defendant

24

25
          6 Defendant is charged with wire fraud and contempt in the
26   Northern District of Illinois in United States v. Girardi et al.,
     case number 23-CR-54(the “Chicago case”). The Chicago case alleges
27   that defendant engaged in a similar pattern of conduct
     (misappropriation of client settlement funds and lies to conceal the
28   theft) resulting in approximately $3 million in loss to victim
     clients of the Lion Air crash. That case is still pending.
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1    was leaving voicemail messages in which he recited facts particular

2    to the Chicago proceedings and even proposed settlement as a way to

3    end the civil case against him.       (See Competency Exs. 7-8, voicemails

4    to counsel in Chicago.)      Furthermore, evidence at trial in this

5    matter, including emails from a senior attorney at Girardi Keese to

6    Kamon, showed that defendant was lying to his clients even as the

7    Lion Air settlement money was being wired into the Girardi Keese

8    accounts.    (See Trial Ex. 813 (email chain between David Lira, who is

9    also a defendant in the Chicago case, and Kamon stating that things

10   were “Worse then [sic] bad.       Tom is lying to clients.”).

11        Ultimately, the motivating factor behind defendant’s crimes was

12   not his declining mental faculties but rather simple greed coupled

13   with the desire to maintain his lifestyle and his reputation as a

14   successful attorney.      This kind of betrayal and greed calls for a

15   significant term of imprisonment within the sentencing Guidelines

16   range.   See United States v. Arena, 2020 WL 4505806, (S.D.N.Y. Aug.

17   3, 2020) (denying compassionate release and reviewing application of

18   § 3553(a) factors to 42-month sentence for tax preparer who “abused
19   the trust that had been placed in him by his clients); United States

20   v. Butler, 264 F.R.D. 37, 39–40 (E.D.N.Y. 2010) (five-year term of

21   imprisonment for defendant who “disregarded his responsibility to the

22   financial well-being of his clients for the sake of his own short-

23   term financial gain”).

24               3.   Seriousness of the Offense, Respect for the Law, Just
                      Punishment, and Deterrence (18 U.S.C. § 3553(a)(2)
25
          The seriousness of defendant’s criminal conduct, the need for
26
     general deterrence, to promote respect for the law, and to provide
27
     just punishment further justify a high-end sentence of 168 months.
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1         It is notable that defendant’s fraud was not an impulsive one-

2    off; it continued across years and numerous cases, despite the

3    efforts of those around him (including junior attorneys at Girardi

4    Keese) to get him to do the right thing and pay his clients.

5    Defendant’s response to these efforts was to double down on his lies

6    and blame others, most notably co-defendant Kamon, for his crimes.

7    To be sure, Kamon stole millions of dollars from Girardi Keese,

8    unbeknownst to defendant.       However, Kamon’s side fraud scheme is not

9    a mitigating factor for defendant’s conduct.           Kamon did not lie to

10   clients.   Defendant did.     Kamon’s fraud scheme does not exculpate

11   defendant.    Far from it.    Kamon’s fraud merely sped up the timeline

12   of Girardi Keese’s demise because the firm was built upon a

13   foundation of lies.      Defendant’s lies.    These considerations

14   underscore the seriousness of defendant’s offense.           As many

15   sentencing and appellate courts have emphasized, denial of

16   responsibility, blaming others, and continuing one’s conduct after

17   confrontation are all aggravating factors under section 3553(a).

18   United States v. Rittall, 688 F. App'x 22, 26 (1st Cir. 2017); United

19   States v. King, 604 F.3d 125, 141 (3d Cir. 2010); United States v.

20   Bresnahan, 400 F. Supp. 3d 793, 797–805 (D. Minn. 2019).

21        Defendant engaged in a long running, cynical scheme to enrich

22   himself by preying on the vulnerable.        Given defendant age and mental

23   decline, there is no need for specific deterrence and a negligible

24   risk of recidivism.      However, the need to deter others from

25   committing similar crimes is great.         As the Court is aware from the

26   significant press coverage surrounding this case (indeed, the Court

27   ordered a questionnaire to be provided to prospective jurors to

28   address issues related to pretrial publicity, see Dkt. 313), there is

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1    substantial public interest in this matter.            Defendant’s sentence

2    will receive similar attention from the press and the public.

3    Therefore, a meaningful sentence will reinforce the notion that

4    defendant’s theft of client funds, and by extension the theft of

5    client funds by any attorney, is a serious matter that erodes the

6    public’s confidence in the legal system and represents a threat to

7    civil society.

8         In sum, a sentence within the Guidelines range——specifically, a

9    sentence of 168 months——is necessary to reflect the seriousness of

10   the offense, promote respect for the law, afford adequate deterrence,

11   and provide just punishment for defendant’s crimes.

12               4.   The Kinds of Sentences Available, the Sentencing Range
                      Established by the Sentencing Guidelines, and the Need
13                    to Provide Defendant Necessary Medical Care and Avoid
                      Unwarranted Sentence Disparities (18 U.S.C.
14                    §§ 3553(a)(2), (3), (4), and (6))

15        Because the government’s recommended sentence is within the

16   Guidelines range, it will not cause unwarranted sentencing

17   disparities with other defendants in similar circumstances.             See

18   Gall v. United States, 552 U.S. 38, 54 (2007) (“[A]voidance of
19   unwarranted disparities was clearly considered by the Sentencing

20   Commission when setting the Guidelines ranges.”).           Moreover, a high-

21   end, 168-month sentence is consistent with recent sentences in other

22   similar cases in this district involving attorneys who stole client

23   funds.    In United States v. Layfield, 18-CR-124-MWF, the defendant

24   received a 144-month custodial sentence for stealing over $7.5

25   million from clients and litigation lenders.           (See Dkt. 439 at 8, 7

26   368.)    In United States v. Avenatti, 19-CR-61-JVS, the defendant

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28        7 Pagination refers to the CM/ECF header, not the page numbers
     in the brief.
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1    received a 168-month sentence for stealing approximately $12.4

2    million in client settlement funds.          (See Dkt. 1023 at 2, 1053.)

3         Furthermore, defendant’s mental condition is not an impediment

4    to incarceration.        The Bureau of Prisons (“BOP”) has policies and

5    procedures in place to accommodate defendant’s mental condition and

6    provide necessary care and support.          To that end, the BOP has issued

7    guidance and information regarding the resources available for care

8    and treatment of individuals with cognitive impairment, even for

9    those defendants who have been diagnosed with major neurocognitive

10   disorders (such as dementia or LATE).         See “Treatment and Care of

11   Inmates with Mental Illness,” Federal Bureau of Prisons, Program

12   Statement 5310.16 (May 1, 2014) (available at

13   https://www.bop.gov/policy/progstat/5310_16.pdf); “Secure Mental

14   Health Units,” Federal Bureau of Prisons, Program Statement 5335.01

15   (January 23, 2023) (available at

16   https://www.bop.gov/policy/progstat/5335.01.pdf).

17   V.   Restitution and Forfeiture

18        Under the Mandatory Victims Restitution Act, restitution is
19   mandatory in this case.       (PSR ¶ 211, 213.)     As stated above,

20   Probation calculated restitution as $2,525,000.           (See also PSR

21   ¶ 211.)   Based on the submission of victim client V.A., the

22   government believes the proper amount of restitution in the case

23   should be $3,786,985.34.       (See Ex. 1 at 10-14, bates USAO_GK_00786576

24   - USAO_GK_00786580; see also Exhibit 2 (the consent to settle and

25   accounting memorandum for V.A.).)         As referenced above, the United

26   States will seek forfeiture, as alleged in the indictment, by

27   separate filing.

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1    VI.   CONCLUSION

2          For the foregoing reasons, the government respectfully requests

3    that this Court sentence defendant to 168 months imprisonment, a

4    restitution order in the amount of $3,786,985.34, three years of

5    supervised release, and a special assessment of $400.

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